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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR10-47-MJP

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   SHANE GRANT,
13
                                   Defendant.
14

15   Offenses charged:
16          Counts 1-6:     Bank Fraud, in violation of 18 U.S.C. § 1344 and §2
17
            Counts 7-8:     Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A
18
            Count 9:        Possession of Stolen Mail, in violation of 18 U.S.C. § 1708 and § 2
19
     Date of Detention Hearing: March 8, 2010
20
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
22
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            1.      Defendant has on-going mental health issues.
24
            2.      Defendant has on-going substance abuse issues, although he did recently
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     undergo an intensive 40-day inpatient treatment plan.
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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            3.      Defendant has a substantial number of failures to appear on his criminal record.
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     In addition, he has a substantial number of violations of court orders, reflecting an
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     unwillingness or inability to comply with supervision.
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            4.      Defendant has been charged with several domestic violence charges and
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     violations of no-contact orders.
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            5.      Defendant poses a substantial economic danger to the community in light of his
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     repeated record of financial crimes.
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            6.      Defendant is associated with two social security numbers.
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            7.      Although the weight of the evidence is the least important factor in reaching
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     detention decisions, it cannot be ignored. The weight is strong as the AUSA has proferred
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     Defendant was captured on videotape.
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            8.      There appear to be no conditions or combination of conditions other than
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     detention that will reasonably assure the appearance of defendant as required or ensure the
14
     safety of the community.
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            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
22
            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
25
                    purpose of an appearance in connection with a court proceeding; and
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     18 U.S.C. § 3142(i)
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 8th day of March, 2010.
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 6                                             AJAMES P. DONOHUE
 7                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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